The court incorporates by reference in this paragraph and adopts as the findings and orders of this court
the document set forth below. This document was signed electronically on June 13, 2023, which may be
different from its entry on the record.




IT IS SO ORDERED.

Dated: June 13, 2023




                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO

 In re:                                                   )             Chapter 7
                                                          )
 MATTHEW M. MOTIL,                                        )             Case No. 22-10571
    Debtor.                                               )
                                                          )              Judge Arthur I. Harris
                                                          )
 ANDREW R. VARA                                           )             Adversary Proceeding
 United States Trustee,                                   )             No. 22-1084
       Plaintiff,                                         )
                                                          )
 v.                                                       )
                                                          )
 MATTHEW M. MOTIL                                         )
    Defendant.                                            )

                                                  JUDGMENT

          For the reasons stated in the separate Memorandum of Opinion, the Court

enters judgment in favor of the U.S Trustee and against the debtor Matthew M.

Motil, denying the debtor a discharge under § 727(a)(2) and (a)(4) of the

Bankruptcy Code. Each party shall bear its own costs and attorney’s fees.

          IT IS SO ORDERED.




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